CJA 20 A.PPOINTMENT OF AND AUTHORITY TO PAY COURT AI’POINTED COUNSEL

 

1-CHUDIST-/DW-'@§“e"i|_Z®EEUGI§_O@IMEBDH' DOCUment 121 Fi|€d 09/0

TNW

 

Ross, Gary Dewayne

1MczzBagolékwf 2 PagelD \!Ll$

 

 

3. MAG. DKTJDEF. NUMBER 4. DiST. DKT.I'DEF. NUMBER

1:02-010011-001

5. APFEALS DKT./DEF. NUMBER 6. OTHER DKT. NUMBER

 

7. IN CASEMATTER OF (Cue Neme) 81 PAYi\/IENT CATEGORY

U.S: v. Ross Felony

 

 

9. TYPE PERSON RF.PRESENTED
Adult Defendant

10. REPRESENTAT]ON TYPE
(See [ns¢rucn'ons)

ther

 

 

ll. OFFENSE(S) CH ARGED [Cite U.S. Code, 'I`ltle & Seetiun)

If more then one oifense, list (up to five) major offenses chorged, according to severity ofoffel\se.

l) 21 841A:CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

12. ATTORNEY'S NAME
AND MAILING ADDRE

Eliis, Danny

1289 N Highland Avenue
P.O. BOx 3146

Jackson TN 38303~3146

TelephoneNumher: §73 12 988'9900

i~i. NAME AND MAILLNG ADDRESS OF LAW FI`R.M {only provide per insu'uc|.ions)
Mueiler an_d Eilis, PLC
1289 N. nghiand Ave
P.O Box 3146
JaCkSOI'l TN 38303-3146

&l"§rst Name, M.I., Laat Name, lnrluding any sufE:]

 

13. COU'RT OR.DER

13 0 Appointing Couneei g C Co-»Coonse|
l:| F Subo For Fedenl Defencler |:i R Subs For Retained Aunrney
i:| P Suhs For Pone] Attorney i:i \' Standh)' Counsel

Prior Attorney's Nlme:
Appolntment Dlte:

 

 

ij Beeause the above-named person represented l\l.l testified under oath or has
otherwise satisfied this court that he or she (1) is financially unable lo employ cmnsel and
{Z) does not wish to waive counse|, and because the interests ofjn.e\ice so require, the
morney whcse name uppelrs in item 12 is appointed to representthis person in this rase,

m l
trutdona A EJ t ,<
\

[] o
5igna7{70f Presiding Judicial Oi'i'il:er or By Order of the Court
DR/?{`l/') O()S
ofOrder Nunc ProTunc Dcte
Repaym¢.'nt or partial repayment ordered from the person represented for this service al
time nfeppolntment. Ci YES m NO

     

 

 

 

 

 

 

 

 

 

 

 

 

CATEGORIES (Attach itemization ofservices with dates)

HOURS
CLAIMED

MA'I'H/TECH
ADJUSTED
HOURS

MATH."TECH
ADJUSTED

Aoom 0NA1.
AMOUNT REV

iEW

 

a. Arraignment and/or Pica

 

 

 

 

 

 

 

 

 

 

 

 

b. Bail and I)etention Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c. Motion Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

d. Triai

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

e. Sentencing Hcarings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. Revocation Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g. Appeals Court

_...,i:¢r~,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

h. Other (Specify on additional sheets)

 

 

 

 

 

 

 

 

 

 

 

 

 

(Rate per hour = S ) TOTALS:

 

,_.
P‘

a. Interviews and Conferences

 

 

 

 

 

 

 

¢-\=O

b. Obtaining and reviewing records

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c. Legai research and brief writing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

d. Travel time

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

e. Iuvesiigative and Other work (speelfy on addicioml sheeu)

'-\l==:('] -eo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

(Rate per hour = S ) TOTALS:

 

Trave] Expenses (lodging, parkiog, meals, mileage, etc.)

 

 

 

 

 

 

 

Other Exp enses

 

 

 

 

 

(oiller than ex ert, transcrl is. e|e.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CERT[FICA'IION OF ATTORNEY)'PAYEE FOR THE PERIOD 0 F SERVICE

FROM TO

 

20. APPOINTMENT TER.MI.NATION I)ATE

11. CASE DISPO SITION
lF OTHER THAN CASE (`.‘UMPLE}`ION

 

 

 

22. CLA[M STATUS [i FinliPlyment i:i Interim Payment Nuniher

Have you previously applied to due court rcr compensation end/or remimhursement for tili.\ cese?

()'ther than |'rom the court, have yon, or toyour knowiedge has anyone e|.l er

received payment (compen.lation or anything or ve|ue) from any other source ln connection with this

m Supplementll Pl}rment

U YES D NO Ifyes,were you pold? |:] YES |:] NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

representation? ij YES ij NO II' yes,give detaiLl on additional eheetl.
l swear or affirm the truth or correctness ofthe above statelnents.
nature of A!torney: Dlte.'
23. IN COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXI’ENSES 26. OTHER EXFENSES 27. TOTAL AMT.APPRI CERT
28. SIGNATU`RE OF THE PRES[DING JU'DICIAL OFFICER DATE 281. JUDGEI MAG. JUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EX?ENSES 31. OTHER EXPENSES 33. TOTAL AMT. APPROVED
\

34. SIGNA'I'URE OF CH[EF J'UDGE, COUR'I` OF APP EALS (OR DELEGA'I`E] Payment

approved in excess of tile statutory threshold lmount.

DATE 34a. JU'DGE CODE

U'_:`J, \\J

F_,.-»-" ""/;`\‘ij

 

 

 

 

bociia:i C@P‘{

  

      

  
 

  

UNITED `sETAT DISTRICT COURT - WESTRNE D"'TRCT oFTENNEssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 1:02-CR-10011 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Victor Lee lvy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jackson7 TN 38303--351

Honorable .1 ames Todd
US DISTRICT COURT

